                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                               October 12, 2016
                              No. 10-16-00047-CR
                            RODERICK CARVON BLEDSOE
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 19[th] District Court
                            McLennan County, Texas
                          Trial Court No. 2014-392-C1
                                       
--------------------------------------------------------------------------------
JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's Judgment of Conviction by Court -- Waiver of Jury Trial as to Count I, Possession of a Controlled Substance with Intent to Deliver, signed on February 9, 2016, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
			By: ___________________________
				Nita Whitener, Deputy Clerk
1006779787783800
